       CASE 0:11-cv-00723-ADM-JSM Doc. 750 Filed 12/05/17 Page 1 of 2




                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
_________________________________________________________________
U.S. Securities and Exchange Commission,           Civil No. 11-723 (ADM/JSM)
                    Plaintiff,
      v.
Marlon Quan, Acorn Capital Group,
LLC and Stewardship Investment
Advisors, LLC, Stewardship Credit
Arbitrage Fund, LLC, Putnam Green,
LLC, Livingston Acres, LLC, and
ACG II, LLC,

                    Defendants,

Florene Quan,

                    Relief Defendant,

Nigel Chatterjee,

                    Intervenor,

DZ Bank AG Deutsche
Zentral-Genossenschaftsbank,
Frankfurt am Main,

                    Intervenor,

Sovereign Bank,

                    Intervenor,

Topwater Exclusive Fund III, LLC,
Freestone Low Volatility Partners, LP and
Freestone Low Volatility Qualified Partners, LP,

      and

Gary Hansen,

                 Receiver.
_________________________________________________________________
       CASE 0:11-cv-00723-ADM-JSM Doc. 750 Filed 12/05/17 Page 2 of 2



            MOTION OF RECEIVER GARY HANSEN TO APPROVE
                PAYMENTS FOR FOX ROTHSCHILD LLP


      Gary Hansen, Receiver for Stewardship Credit Arbitrage Fund, LLC, Putnam

Green, LLC, and Livingston Acres, LLC, respectfully moves this Court for an Order

directing the Receiver to pay the Receiver’s attorneys’ fees and costs for the months of

June through November 2017 to Fox Rothschild LLP in the amount of $11,879.50.

      This motion is supported by the accompanying affidavit of Gary Hansen and the

files and proceedings herein.

      Pursuant to the Court’s June 8, 2012 Supplemental Order [Docket No. 162],

Receiver Hansen is not obtaining a hearing date for this Motion. Objections to this

Motion are due within seven days. If an objection is not filed within this seven-day

period, the Court will rule on the Motion without a hearing.

Date: December 5, 2017              FOX ROTHSCHILD LLP

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                                       Ranelle Leier (#277587)

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                                    ATTORNEY FOR RECEIVER FOR
                                    STEWARDSHIP CREDIT ARBITRAGE
                                    FUND, LLC, PUTNAM GREEN, LLC, AND
                                    LIVINGSTON ACRES, LLC




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